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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

United States of America,

       Plaintiff,
v.                                           MEMORANDUM OPINION
                                                   AND ORDER
                                             Crim. No. 19-103 (03) (MJD/ECW)
Kevin Green,

      Defendant.
_______________________________________________________________

      Amber M. Brennan and Justin A. Wesley, Assistant United States
Attorneys, Counsel for Plaintiff.

      Paul W. Rogosheske, Counsel for Defendant.
_______________________________________________________________

       This matter is before the Court on Defendant’s motion for reconsideration

of the detention order.   (Doc. Nos. 183 and 197).   A hearing was held on April

23, 2020 whereby counsel and defendant appeared by video conference.



I.     Introduction

       Defendant has been charged in the Superseding Indictment with

conspiracy to distribute controlled substances, specifically Fentanyl and

possession of controlled substances, specifically Fentanyl and Heroin.      On


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September 4, 2019, Magistrate Judge Leung held a detention hearing, and by

Order dated September 12, 2019, found that Defendant had not rebutted the

presumption of detention in this case and that there were no conditions or

combination of conditions that would reasonably assure his presence at future

court proceedings or that would assure the safety of the community.         (Doc. No.

69.)

II.      Standard

         The Bail Reform Act creates a rebuttable presumption that “no condition

or combination of conditions will reasonably assure the appearance of the person

as required and the safety of the community” when there is probable cause to

believe a defendant committed a certain offense, including “an offense for which

a maximum term of imprisonment of ten years or more is prescribed in the

Controlled Substances Act.”       United States v. Boykins, 316 F. Supp.3d 434, 436

(D.D.C. 2018) (citing 18 U.S.C. ' 3142(e)(3)(A)).

         In this case, there is a rebuttable presumption in favor of detention as

Defendant meets the criteria in 18 U.S.C. § 3142(e)(2)(A) and (C); he has a prior

conviction for conspiracy to possess with intent to distribute 100 grams or more



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of heroin, which is an offense listed in subsection (f)(1); and not more than five

years have elapsed since his release from imprisonment for his prior drug

conviction.

      In making the determination whether detention is appropriate, the Court

must consider the following factors:

      (1) The nature and circumstances of the offense charged, including
      the fact that the crime charged is an offense listed in section
      2332b(g)(5)(B) for which a maximum term of imprisonment of 10
      years or more is prescribed;

      (2)     the weight of the evidence against the person;

      (3)     the history and characteristics of the person, includingB

               (A) the person=s character, physical and mental condition,
               family ties, employment, financial resources, length of
               residence in the community, community ties, past conduct,
               history relating to drug or alcohol abuse, criminal history, and
               record concerning appearance at court proceedings; and
               (B) whether, at the time of the current offense or arrest, the
               person was on probation, on parole, or on other release
               pending trial, sentencing, appeal, or completion of sentence
               for an offense under Federal, State, or local law; and

      (4) the nature and seriousness of the danger to any person or the
      community that would be posed by the person=s release.

18 U.S.C. ' 3142(g).



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         The Magistrate Judge=s decision is subject to de novo review.   United

States v. Maull, 773 F.2d 1479, 1484-85 (8th Cir. 1985).

III.     Argument

         Defendant attempts to rebut the presumption for detention by arguing that

there are conditions or combination of conditions that will reasonably assure his

appearance at future court proceedings and the safety of the community.           He

argues that his mother posted a personal surety bond in the amount of $500,000

in state court, File No. 19HA-CR-19-1731.      The terms of the conditional release

order in state court are that Defendant shall: not leave Minnesota, keep his

attorney informed of his current address; consume no alcohol/controlled

substances; random testing; remain law-abiding; make all future court

proceedings; no contact with co-defendants (Minnie Loyd); no use of firearms or

dangerous weapons; participate in Pretrial Release Program.       (Def. Ex. 1.)

         Defendant asserts he will post an additional personal surety bond and will

participate in home confinement and abide by all the requirements of the

program which include electronic home monitoring and GPS.          Defendant also

agrees to be prohibited from possessing or using a cellular phone, pager, modem,



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fax machine or internet on-line services.       He agrees to submit to a search of his

person, property, vehicle, place of residence and any other property under his

control and permit to the confiscation of any evidence or contraband.         He agrees

to surrender his passport and not obtain a new passport, and he agrees to avoid

all contact with potential witnesses, unless in the presence of his attorney.

      Defendant argues that due to the COVID-19 pandemic, Sherburne County

Jail will likely be infected, and he will more likely be infected in a jail setting.

      Defendant further points out that unlike his co-defendants, he is not

charged with possessing weapons, or suspected in any death.

      The government opposes pretrial release for this Defendant. The crimes

charged are very serious drug crimes involving the distribution of Fentanyl and

Heroin, and that one of his co-defendant’s alleged customers died from drugs

allegedly purchased from Defendant.

      The government asserts that from December 2018 through July 8, 2019,

Defendant was involved in a conspiracy to distribute fentanyl which was

promoted only as heroin.      After one of co-defendant Relondo Hall’s customers

overdosed and died from the fentanyl he supplied, law enforcement obtained a



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search warrant for Hall’s Airbnb. 1 Hall was not there at the time, but co-

defendant Abari was present.         Law enforcement seized mixtures of heroin and

fentanyl being packaged for sale in the kitchen, a firearm from Abari and several

thousands of dollars in cash.

       Another warrant was executed at a residence where both Abari and Hall

were found.      Hall was in possession of a firearm, and law enforcement seized

more heroin/fentanyl mixtures as well as additional cash.

       During a forensic search of Abari and Hall’s cell phones, police found

several incriminating conversations between the two and someone called

“Stunna,” who was later identified as this Defendant.             Police then conducted

surveillance and gathered more information about Defendant, eventually

learning where he was staying.         On July 8, 2019, police executed a search

warrant at Defendant’s residence and recovered 298 grams of heroin/fentanyl

mixtures along with $196,921 in cash.

       Defendant has a previous conviction for conspiracy to possess with intent




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         Defendant contests this point, noting that in a prior search warrant affidavit, it was
asserted that the alleged customer died of a cocaine overdose and the defendants in this case are
not charged with distribution of cocaine. (Doc. No. 208, Ex. 3.)

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to distribute 100 grams or more of heroin. (Crim. No. 06-50 (DSD/JJG)).      After

serving his 124-month sentence, Defendant was originally released from prison

in September 2015.     He repeatedly violated the conditions of supervised release

and was sentenced to multiple additional terms of imprisonment from which he

was ultimately released, with no supervision to follow, on September 20, 2018.

        With regard to the bond posted in state court, the government asserts that

Magistrate Judge Leung found that “[i]n weighing that very short period of time

against his lengthy and frequent history of violating supervised release, the

Court finds this insufficient to support Defendant’s release.”    (Doc. No. 69 at ¶

5.) Magistrate Judge Leung also noted that Defendant performed poorly while

on supervision for his prior conviction and that the violations were of such

frequency and severity that he was sentenced to 18 months imprisonment rather

than be allowed to complete his supervised release term. (Id. at ¶ 4.)

IV.     Findings

        Based on the record before it, and applying the factors set forth in §

3142(g), the Court finds that Defendant’s continued detention is warranted.      He

is charged with a serious crime, and the government has proffered there is



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significant evidence against Defendant, including the text conversations with his

co-defendants, police surveillance and the amount of drugs and cash seized from

his residence.    The text conversations reveal that Defendant refers to himself as

“Stunna,” references his girlfriend’s place in Burnsville, and includes

conversations about drug prices, weights, and drug quality.     (Doc. No. 161 at 3.)

This evidence, together with his criminal history and noncompliance and that he

is facing a 15-year mandatory minimum sentence in this case demonstrates that

releasing him poses a risk to the community and a risk that he will not appear in

court.

         The Court further finds that the COVID-19 pandemic does not warrant his

release.    Defendant asserts he suffers from asthma, high blood pressure, that is

being monitored at the Jail, and has suffered a heart attack in the recent past, and

is therefore vulnerable to the coronavirus. Defendant does not claim he has

been exposed to the virus, nor has he demonstrated that his needs cannot be met

and protected during his detention at the Sherburne County Jail.

         The government has submitted evidence to show the steps taken by the

Sherburne County Jail to keep inmates and staff safe.    (Gov’t Ex. (Frank Aff.).)



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Brian Frank is the Jail Administrator at the Sherburne County Jail, and asserts in

his affidavit that as of April 17, 2020, there are no known cases of COVID-19 at

the Sherburne County Jail.        (Frank Aff. ¶ 4.) 2    The Jail has medical

professionals on site, and if necessary, an inmate can be transferred to hospitals

or outside clinics.    (Id. at ¶ 3.)

       With respect to the COVID-19 virus, the Jail took steps to reduce the

inmate populations, which resulted in a 25% decrease as of April 10, 2020.                 (Id.

at ¶¶ 7-8.)   The Jail has also adapted its staff to limit contamination and cross-

contamination.      (Id. at ¶ 24.)     In addition, the Jail is structurally designed to

isolate and contain airborne threats.        (Id. at ¶ 17.)   It also has negative pressure

units that could isolate and treat symptomatic inmates.             (Id. at ¶ 13.)

       In response to COVID-19, new arrivals are placed in a 14-day quarantine

unit that is monitored by medical professionals and isolated from the general

population.     (Id. at ¶ 10.)   In addition, there are strict social-distancing

measures in place, proper handwashing is encouraged, modified delivery

systems are in place to minimize person-to-person contact, as well as other


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 At the hearing, the government asserted that at the present time, no are still no known cases of
COVID-19 at the Sherburne County Jail.

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measures. (Id. at ¶¶ 20, 23 and 24.)   New arrivals must complete both the

Coronavirus screening checklist and a body temperature check.      (Id. at ¶ 24.)

The Jail has also heightened its cleaning regimen, which includes four daily

cleanings of all frequently touched surfaces with a chemical specifically

formulated to kill viruses, cleaning before every meal and before nightly

lockdown. (Id. at 18.)

      A recent inspection of the Jail by the Department of Corrections Inspection

and Enforcement Unit found that the steps taken by Sherburne Count exceed

prevention measures being taken across Minnesota and do not violate any Rule

provision. (Id. at ¶ 6.)

      Based on the above, and in consideration of the factors listed in § 3142(g),

the Court finds there are no conditions or combination of conditions that would

reasonably assure Defendant’s presence at future court proceedings or that

would assure the safety of the community.




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     IT IS HEREBY ORDERED that Defendant’s Motions to Reconsider

Detention [Doc. Nos. 183 and 197] are DENIED.

Date: April 23, 2020



                                          s/ Michael J. Davis
                                          Michael J. Davis
                                          United States District Court




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